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UNITED STATES ])ISTRICT CO-URT
DISTRIC'I' OF MASSACHUSET'I`S

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LEE HUTCHle, sR.,
Plainaff,

clVIL ACTION No. 3:16-cv_3oecs

V.

DANIEL J. l\/ICKAY, FELlX M.
ROMERO, 'I`HOMAS HERVIEUX, and
THE CITY OF SPRINGFIELD

Det`endants

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PLAINTIFF’S ANSWERS TO I)EFENDANT CITY OF SPR¥NGFIELD’S
FIRS'I` SET OF INTERROGATORTES

1. Please state your full name, date ofbirth, social security number, home address,
telephone number, occupation and business address

 

Lee Hutchins, October 4, 1965, XXX-XX-XXXX, 53 Daytona Street, Springiield, MA 01108, (413)
821-5526, unemployed/disabled

2. If you received injuries of any nature as a result of this incident:

a. Please list and describe each in specific detail, giving the exact location within
or upon your body of all of your injurics, and the nature of your complaints
(whether physicai, emotional, nervous, mental, or psycllofogical);

b. If you have completely recovered from each such injury and complaint,` state
the date you recovered from each such injury or complaint;

c. If yo'u have not fully recovered from any injury or complaint; identify each of
which you complain

d. List separately all of your present disabilities and complaints, the frequency

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and duration of your complaints of pain, etc. and the location of and the
degree of any limitations of option you now have.

 

Obj ection, to the extent that this interrogatory calls for medical expertise which the plaintiff does
not possess Subject to and without waiving obj ection, as a result of the Defendants actions, I
sustained injuries to my shoulders, arms and wrists that have resulted in chronic pain, muscle
spasms, a loss of flexibility and mobility in my arms and hands With respect to emotional
injuries, I continue to suffer anxiety and fearfulness as a result of this incident l am very
nervous about encountering police officers, which makes me not want to leave my home

Also please see medical records provided for more details

We reserve the right to supplement this answer.

3. If, as a result of any injuries sustained in the incident, you Were unable to perform
any of your normal andusuai functions, duties, or activities of Whatevernature at
any time since the incident (which you were able to performbefore the incident),
please state each such function, duty, and activity you Were unable toperform,
and also separately state Which functions, duties , or activities , if any, you are still
abletoperform, and why.

ANSWER NO. 3

Objection, to the extent that this interrogatory calls for medical expertise which the plaintiff does
not possess Subject to and without waiving this objection, see my answer to Nunrber 2 above.
in addition, as a result of the incident described in my complaint, I have suffered chronic pain,
muscle spasms, and a loss of flexibility and mobility in my arms and hands that makes everyday
activities and chores more difficult to complete

4. If you received any medical care or treatment from any doctor, psychiatrist, therapist,
practitioner or medical care provider as a result of injuries received in said incident,
please supply answers to the following

a. The date you first received such medical care or treatment, the name and
address of the doctor, therapist, or other practitioner who first treated you and
where (office, home, o_r hospital);

b. The name and address of each such doctor, therapist, or other practitioner,
indicating his or her specialty, if any, whom you have seen for medical care or
treatment as a result of injuries you received in_this incident;

c. The injuries or complaints that each doctor, therapist, or other practitioner
treated you for, the dates of care or treatment by each such doctor;

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d. The treatment given and the treatment prescribed by each doctor, therapist, or
other practitioner; and
e. Any medications prescribed, by whom, for what purpose, where obtained and

the frequency and period of time from date to date over of which they were
taken ' '

 

Objection to the extent that this interrogatory calls for medical expertise Which l do not have.
Subj ect to and without waiving obj ection, please see medical records provided for more details
Also see my answers to Nurnbers 2 and 3 above. I believe all treatment l was received was at the
Baystate High Street Health Center, 140 I~iigh.Street, Springfleld, MA.

We reserve the right to supplement this answer.

5. If you obtained psychological or psychiatric counseling, therapy and/or treatment
because of the act(s) or omission(s) of the Det`endants as alleged in your Complaint,
please provide a full explanation Please include the following as a part of your
answer for each person listed:

a. Name, address and phone number of the treating physician, psychiatrist,

psychologist, counselor, therapist or medical facility if you received treatment;
b. Type of treatment provided;
o. Dates oftreatrnent.

 

Objection, to the extent that this interrogatory calls for medical expertise which the plaintiff does
not possess Not applicable

6. Piease state the Witnesses' names, addresses, telephone numbers and a Summary of the
testimony expected to be given of the following:

a. All persons who saw or heard, or claim to have seen or heard, or of any other
person who claims to have any knowledge of any events or happenings which
occurred at the time of or at the scene of the incident alleged in your Complaint,
or of the events leading up to or immediately alter the said incident or the
condition of any of the parties during the 24»hour period prior to the incident;

b. All persons who heard, or claim to have heard, any statements made by you, or of .
any Defendants, or of any other person concerning how the incident happened or
the person(s) at fault in said occurrence;

 

 

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c. All persons who have, or claim to have, any knowledge concerning the injuries or
damages sustained by you or others in the incident, other that the doctors you
have previously mentioned;

d. All persons who rendered or offered assistance'at the scene of the incident, or
gave their names, or assisted you in making any report of the incident

 

Please see list of witnesses in Plaintift’s Initial Disclosure. Plaintiff has made no decisions at this
time regarding trial witnesses or anticipated testimony

7 . State the name and address of each person who you believe has knowledge of any facts
relative to the treatment by any type of health care provided related to any cvents,
transactions, or occurrences that are described in your Complaint or in any pleading
setting forth a claim cr defense in this action, and for each such perscn, state:

a. A brief description of the matters pertaining to your claim about Which that
person may have knowiedge; 1

b. Whether you intend to call that person as a witness at trial, and if so, state the
subject matter of that person's anticipated testimony

 

Objection to the extent that this interrogatory calls for medical expertise which l do not have.
Subject to and without waiving objection, please see witness information contained in Piaintift`s
Initial Disclosure and Plaintiff’s Response No. l to the City’s Request for the Production of
Docurnents. Plaintiff has made no decisions at this tirne regarding trial_witnesses or anticipated
testimony

8. Please identify each person whom you expect to call as an expert witness at trial, stating
the subject matter on which the expert is expected to testify, the substance of the facts
and opinions to which the expert is expected to testify, a summary of the grounds for
each opinion, and the qualifications of each expert listed to testify on the stated topic(s).

 

Plaintiff has made no decisions at this time regarding trial experts or their anticipated testimony.
Plaintiff will supplement this interrogatory as per applicable Court rules and orders

9. Piease state whether at anytime either prior to or subsequent to the act(s) alleged in your
Complaint, due to the act(s) alleged in your Complaint, you applied for and/or received
any monies or benefits cf any type whatsoever for unemployment, disability, welfare,

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personal injury protection, social security, and/or workmen's compensation, setting forth
the dollar amounts and periods involved

ANSWER No'. 9

No. I have not.

10. Please state each and every fact that supports your claim in Count IV of your
Complaint that the City of Springtield has failed to discipline its officers Who use
excessive force or to train its officers to refrain from using excessive force. In your
answer please:

a.
b.

O.

Identify and describe the failure to discipline and train;

State the date on which the policy, practice, or custom commenced ;

State the names of the persons who failed to instruct, supervise, control, or
discipline Defendants;

State all the underlying facts upon which you base your answers to (a) and (b)
above;

State the names and addresses of all persons with knowledge of the
underlying facts upon which you base your answers to (a), (b), and (c)
above;

Identify and describe all documents that support your answers to (a), (b), and
(c) above.

ANSWER No.'io`

Objection. This interrogatory calls for the mental impressions conclusions, opinions and legal
theories of my attorney Subject to and without waving said objection, l believe the following
Defendants were not properly trained in the following areas:

 

Defendant ' Dejicz'ent Training A)‘ea

 

 

Daniel J. McKay » Use of force during domestic

encounters with civilians;
Use of force during arrest;
Rights of civilians to be free from
unreasonable warrantless intrusions
into their homes;
v Rights of civilians to be free from
snssss_sssls_.§n¢§t warranties ______
0 Inteivention when witnessing a` fellow
office violating an individual'
constitutional rlghts

 

 

 

 

 

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Felix M. Romero n Use of force during domestic
encounters with civilians;

¢ Use of force during arrest;

¢ Rights of civilians to be free from
unreasonable warrantless intrusions
into their homes ;

¢ Rights of civilians to be free from
unreasonable arrest and prosecution `_

¢ Intervention when witnessing a` fellow
officer violating an individuals
constitutional rights

 

 

Thornas Heivieux o Use of force during domestic
encounters with civilians;
o Use offeree during arrest;

¢ Rights of civilians to be free from
unreasonable warrantless intrusions
into their homes;

¢ Rights of civilians to be free from
unreasonable arrest and prosecution

¢ Inteivention when witnessing a fellow
officer violating an individuals
constitutional rights

 

 

In addition, please see Plaintifi”s Initial Disclosure, Bxhibit 40, IIU Investigation regarding prior
misconduct allegations against Defendant Daniel J. McKay.

Plaintiff will be seeking to offer evidence personnel files regarding other Springfield Police
officers (now subject to court protective order) who were found to have violated the Spn`ngfield
Police Department’s policies and procedures and were supposed to receive i‘e‘ti'aining and letters
of i'eprirnand, but were no such letters cr restraining occurred

We reserve the right to supplement this interrogatory answer.

ii. Do you contend that there was a pattern of misconduct of members of the Springfield
Police Department of which the City of Springfield was or should have been awarc?
If yes,s state
a. The pattern of misconduct, including each and every act of members of the
Springf`ield Police Department;
b. The date when such pattern commended;
c. The names of each person involved in the pattern.

 

 

 

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ANSWER NO. 11

Objection. This interrogatory calls for the mental impressions, conclusions, opinions and legal
theories of my attorney Subj ect to and without waiving said objection, the City of Springfield
was or should have been aware that members of the Springfield Police Departnient have been the
subject of complaints and claims alleging the use of unlawful arrest and excessive force, among
other civil rights violations, and they failed to adequately discipline and require appropriate in-
service training or re~training of officers who were known to use excessive and unnecessary force
during encounters with civiliaus. In addition, see answer to No. 10 above. We reserve the right to
supplement this interrogatory answer.

12. Do you contend that the City of Springf'ield had actual or constructive knowledge
of misconduct by the individually named Defendants? If yes, state:

a. 'i`he misconduct ofDefendants of which the City of Springf`ield have actual
knowledge, the date of the misconduct, the victim(s) of the'misconduct, and
any document(s) that you rely upon in making this allegation and the date the
knowledge was imparted to the City of Springiield;

b. lf constructive knowledge is relied upon, state the same as in (a) above and
the date the board should have had knowledge `

M_§}XE_..R.,.NM

Objection. This interrogatory calls for the mental impressions, conclusions, opinions and legal
theories of my attorney Subject to and without waiving said objection, please see answer to
Nos. lO and ll above.

13. Do you contend that the City of Springfield approved or ratified prior misconduct of
the individually named Defendants'? It` yes,
a. State the name of each Det`endant who engaged in prior misconduct;
b. State the date(s) of misconduct;
c. State the date of ratification or approval of his acts.

ANSWER NO. 13

Objection. This interrogatory calls for the mental impressions, conclusions, opinions and legal
theories oi` my attorney Subject to and without waiving said objection, please see answers Nos.
10 and ll above.

14. Please describe in detail each and every event that occurred, in the order of occurrence,
on January 20, 20l3, from the time the first officer arrived at Daytona Street until you
were finished being processed at the Springiield Police Department. In your answer
please state by name or physical description who said what and who performed each
stated action.

 

 

 

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ANSWERNO. 14

Objection. This interrogatory calls for the mental impressions conclusions, opinions and legal
theories of my attorney Subject to and without waiving said objection, at approximately
lZ:l$am pin laundry 20, 2013, Defendants McKay and Rornero arrived at my house and rang the
doorbell, waking me and several other occupants They told me they were there to get my
grandson, lvan. I told Defendants McKay and Rornero that lvan and Lee, Jr. were on the third
floor sleeping and that l would go to upstairs and bring lvan down to the officers Defendant
McKay and Romero did not wait for me to bring Ivan downstairs, and instead they entered my
residence without permission When my son Lee, .lr. was woken up and learned that child’s
mother, Vanessa Montero, was at our house with two police oiiicers to take their child,' he
became upset and went down the back stairs to verbally confront Ms. Montero. T hen Rornero
exited the residence and began using physical force to take Lee into custody.

As my other scn, Keith, observed this interaction from the front porch, he reached the conclusion
that Dei`endant Romero was using excessive force on Lee, .Tr. This led to efforts on the part of
Keith to aid Lee, Jr. rl”his in turn prompted Defendant McKay to begin using force to arrest
Keith. During the ensuing physical altercation, Defendant McKay ended on the bottom with
Det`endant Romero was top of them. At the same time, McKay was wildly swinging his baton at
both Keith and Rornero. In order assist the police in taking Keith into custody l yelled at McKay
to stop swinging the baton so his partner could subdue Keith. He kept swinging wildly, so l`
attempted to grab McKay’s baton to stop him. As l attempted to _do so, Defendant McKay told
me to let go of the baton or he would “mace” me. Before I could let go, he pepper~sprayed me.

At this point, Defendant Hervieux and his partner Christopher Goodrow arrived on the scene.
Despite the fact that l was suffering the effects of the pepper-spray, Def`endant Hervieux for no
reason struck me twice With his baton, bringing me to the ground. I was then tightly handcuffed
and left lying on the ground for approximately ten minutes before being placed in the cruiser and
transported to the police station at 130 Pearl Street for booking

15. Please state the substance of any oral communications or statements made
immediately prior to, during or after your arrest, confinement or imprisonment

a. Made by you; .

b. Made by any witnesses (please provide name, address and telephone
number);

c. Made by any of the Defendants (please provide name, address and telephone
number);

d. Made by any law enforcement officer {please provide name, address and

' telephone number).

assurance

l don’t remember the specifics of the conversations other than l was trying to cahn the situation

- and pleading with the police to not harm my sons. In response I was basically told to keep my
mouth shut. Also please see the statements made by parties included in the Plaintift`s Initial
Disclosures and my answer to No. 14 above.

 

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16. If there is any other information or evidence regarding any claim for entitlement to
compensatory damages please provide a full explanation of the information you
wish to include

-'AN`swnR No;‘i's

Objection. ’l'his interrogatory calls for the mental impressions conclusions opinions and legal
theories of my attorney. In addition, it is vague and not reasonably calcuiated to lead to
admissible evidence Subject to and without waving said objection, see the documents and
things provided in the Plaintiff`s Initiat Disclosures and in the Plaintiff’s Responses to
Production of Documents.

17. Please state each and every fact upon which you rely in support of the allegations in
paragraph 58 of your Complaint that prior to Januaty 20, 20 t 3, the Defendant, City
of Springfield, "developed and maintained policies or customs exhibiting deliberate
indifference to the constitutional rights of persons in Springfield."

 

Objection. This interrogatory calls for the mental impressions conclusions opinions and legal
theories ofrny attorney. Subject to and without waving said objection, see my answer to
Number ll above. We reserve the right to supplement this answer.

18. Please state each and every fact upon which you rely in support of the allegations in
paragraph 59 of your Cornplaint that the Defendant, City of Springfield, did not
require appropriate "in-service training or re»training of officers who Were known to
use excessive and unnecessary force during street encounters with civilians."

 

Objection. This interrogatory calls for the mental impressions conclusions opinions and legal
theories of my attorney. Subject to and without waving said objection, see my answers to
Nurnbers 10 and ll above We reserve the right to supplement this answer.

19. Please state each and every fact upon which you rely in support of the ailegations in
paragraph 60 of your Complaint that the policies and customs of the Defendant, City
of Springfield, "denionstrated a deliberate indifference" by the Defendant's policy
makers and thus were the cause of the violations of the violations of your rights as
alleged in your Complaint.

 

 

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C>bjection. This request calls for the mental impressions, conclusions, opinions and iegal
theories of my attorney Subjeot to and without waiving said objection, see my answers to
Numbers 10 and 11 above We reserve the right to supplement this answer.

l have read the forgoing answers to interrogatories, and the answers contained therein are true to
the best ofmy knowledge, information and belief

SWORN UNDER THE PAINS AND PENALTIES OF PERJURY.

Dated: Gl,. O"}. /(d

Lee Hutchins

As to objections:

THE PLAINT[FF,

s moreno on

LUKE RYAN, BBoJ¢664999

SASSON, TURNBULL, RYAN & HOOSE
100 Main Street, Third Floor

Northampton, MA 01060

(413) 586-4800

Certificste of Service

011 this day a copy of the foregoing Answer to Interrogatories was served prepaid mailing on ali

Attorneys of record. @;Q
Dated: q__ og,!la /\

 

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